

Matter of Tyasia T.S. (Ruthanne J.) (2023 NY Slip Op 03181)





Matter of Tyasia T.S. (Ruthanne J.)


2023 NY Slip Op 03181


Decided on June 9, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 9, 2023

PRESENT: WHALEN, P.J., LINDLEY, CURRAN, BANNISTER, AND MONTOUR, JJ. (Filed June 9, 2023.) 


MOTION NO. (141/23) CAF 21-01809.

[*1]IN THE MATTER OF TYASIA T.S., ALSO KNOWN AS TYRENEE S. MONROE COUNTY DEPARTMENT OF HUMAN SERVICES, PETITIONER-RESPONDENT; RUTHANNE J., RESPONDENT-APPELLANT.



MEMORANDUM AND ORDER Motion for reargument denied.








